UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA,               24-cr-542 (AS)

     v.

SEAN COMBS,

      Defendant.




              DEFENDANT SEAN COMBS’S MOTION IN LIMINE
               TO EXCLUDE VIDEO FOOTAGE RELATED TO
             MARCH 5, 2016 INCIDENT AT INTERCONTINENTAL,
                OR IN THE ALTERNATIVE, FOR A HEARING
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                                       INTRODUCTION

       There is no longer any dispute that the CNN footage from March 5, 2016 at the

Intercontinental Hotel, offered by the government at three separate bail hearings, is wholly

inaccurate, having been altered, manipulated, sped-up, and edited to be out of sequence. As

indicated below, CNN paid                      for footage, copied that footage in unknown ways,

presented that footage out of order and destroyed the original. Accordingly, all the footage from

CNN is inaccurate and inadmissible. As for the two items of footage filmed by an iPhone 6, those

pieces of footage are inaccurate and inadmissible as well, for the reasons set out below.

       As a result, pursuant to Federal Rule of Evidence 901, 1002, and 403, Mr. Combs seeks to

exclude all available video files related to an incident from March 5, 2016 in the Intercontinental

Hotel. Those exhibits include (a) an edited, manipulated version of hotel surveillance footage; (b)

two cellphone video recordings of surveillance video footage taken by                       ; and (c)

and four video files provided by CNN in response to a defense subpoena.

                                THE NEED FOR A HEARING

       Before deciding this motion, we ask that the Court hold a pre-trial hearing to allow Mr.

Combs to present testimony and video evidence from a forensic video analyst, Conor McCourt, so

that the Court can better understand the ways in which each of the available videos are unreliable

and not a fair and accurate reflection of the actions depicted. The arguments presented herein and

in the attached Affidavit of Conor McCourt are best illustrated by the testimony of Mr. McCourt

combined with a visual demonstration of the inaccuracies of the challenged video evidence. We

understand and appreciate that the Court may be disinclined to devote time and resources to a

hearing at this juncture, but we are constrained to ask for that because the admission of any of

these inaccurate, unreliable video files would unfairly confuse and mislead the jury at Mr. Combs’s

expense and because their admission would be infinitely more prejudicial than probative given the
fact, this wholly inaccurate footage was the only exhibit the government used to support detaining

Mr. Combs in September of 2024. The government failed to disclose that the footage had been

manipulated.

       After conferring with the government multiple times on the topic of the CNN Compilation,

on November 13, 2024, the government produced two additional iPhone videos (“iPhone Videos”)

that were in the possession of                                , also partially depicting the incident.

See Reply in Support of Mr. Combs’s Renewed Motion for Bail at 8, ECF No. 80; Declaration of

T. Geragos (Nov. 21, 2024), ¶ 44, ECF No. 81. The iPhone Videos appear to be recordings of

surveillance footage of the Hotel Incident (i.e. re-recordings), but they differ materially from the

CNN Compilation. Id. This cell phone footage records scenes from the incident that were not in

the CNN Compilation. Declaration of A. Estevao ¶5.

       Upon receiving the iPhone Videos and noting the myriad ways they differ from the CNN

Compilation, defense counsel retained Conor McCourt, a career law enforcement officer with

years of experience performing forensic analyses of videos, to compare the iPhone videos to the

CNN Compilation. See Letter from M. Agnifilo (Nov. 21, 2024) at 1, ECF No. 82. Mr. McCourt

confirmed what the government has since been forced to admit—that none of the government’s

videos are the original, raw surveillance footage of the Hotel Incident; that the CNN Compilation

was manipulated either through copying or conversion; and that it lacks any metadata to confirm

the manner in which it was manipulated.

       In an effort to obtain the original footage, Combs sent a Brady request to the government

and a subpoena to CNN. Declaration of A. Estevao ¶ 8; Ex. F; id. ¶ 10. Ultimately, as a result of

the subpoena, defense counsel obtained four additional videos: CNN’s Compilation and three

videos with footage obtained by CNN from three single cameras in the Intercontinental Hotel (Id.




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at Ex. I the “CNN Video Files”). The CNN Video Files, counsel learned from CNN’s counsel,

were not the original files that CNN received from its source,

      Instead, CNN paid their source for the CNN Video Files, apparently copied those Video

Files, and subsequently destroyed the original video files they received. (Id. at ¶10; Ex. H.)

       The government later confirmed to counsel in a letter dated January 31, 2025, that




                      defense investigation has been unable to identify the CNN employee who

received the surveillance footage from the Intercontinental Hotel, the employee(s) who converted

and manipulated the footage, or the employee(s) who destroyed the footage. CNN, for their part,

had been publicly reporting on an ongoing federal sex trafficking investigation for months prior to

their knowing destruction of the evidence. (Id. ¶¶ 12-13.) To defense counsel’s knowledge, the

government has not investigated CNN, nor                          , for destroying evidence related to

this case during the pendency of the investigation. (Id. ¶ 15.)

       In short, the only available versions present an inaccurate view of the incident.

                                               ****

       At the last hearing where the video files were addressed, the Court suggested that a possible

solution would be to “slow it down and put it in the right sequence, or provide any other context

based on the materials” we have uncovered or based on our expert’s analysis, so that when the

video went before the jury it would be “an accurate portrayal.” 3/14/25 Tr. at 13. After extensive

discussions with Mr. McCourt, however, there are several reasons why all available video files are

inaccurate and unreliable, and cannot be modified to be accurate.




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       First, the CNN Videos are (1) significantly sped up (Affidavit of C. McCourt ¶ 15); (2) do

not accurately represent human movement as a result of being converted from one file type to

another (id. ¶ 16); (3) inaccurately display timestamp seconds, including jumping back in time,

thereby misleading the viewer about the timing of the events (id. ¶¶ 22-24); and (4) are missing a

considerable amount of footage (id. ¶ 26).

       Second, the iPhone Videos distort the events depicted in other ways: (1) the aspect-ratio in

the iPhone Videos differs from the CNN Video such that Mr. Combs appears to be stockier and

shorter than he appears in the CNN Video, causing Mr. Combs to appear more domineering (id.

¶¶ 17, 18); (2) they inaccurately display timestamp seconds, when depicted (id. ¶¶ 19-20,22-23),

misleading the viewer about the timing of the events; (3) they do not show the timestamps in the

majority of the videos (id. ¶24); and (4) they do not depict the entire Incident (id. ¶ 26). In other

words, the iPhone Videos reflect what the person holding the cell phone camera focused on when

watching the footage—at times the iPhone Videos zoom in on details like a particular person’s

shoes, cutting out portions of the events depicted in the CNN Videos. Further, because the iPhone

Videos were created by using a handheld camera to film a static image, the iPhone Videos contain

double images and blurred images, distortive artifacts that are the result of amateur re-recording.

       Thus, neither the CNN Video nor the iPhone Videos accurately depict the incident. The

government alleges that the iPhone Videos accurately depict the way the raw hotel surveillance

footage of the Hotel Incident appeared on March 5, 2016 when                 recorded the footage in

the iPhone Videos. But the government’s claim rests entirely on                     word, which is

contradicted by forensic analysis.

       There is simply no way to obtain or create an accurate version—the only versions that exist

are inaccurate and highly prejudicial.




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                                              ARGUMENT

I.      THE CNN AND IPHONE VIDEOS MUST BE EXCLUDED BECAUSE THE
        GOVERNMENT    CANNOT    PROVIDE    SUFFICIENT EVIDENCE TO
        AUTHENTICATE THE CNN AND IPHONE VIDEOS.

            The CNN Video and the iPhone Videos must be excluded because the government cannot

  provide sufficient evidence of their authenticity, as required by Federal Rule of Evidence 901.

  Because recorded evidence predictably has a “dramatic impact” on the jury, the Second Circuit

  rightfully holds the government to a higher standard to establish that video recordings, as opposed

  to other kinds of evidence that are less susceptible to tampering and manipulation, are authentic

  before allowing their admission at trial. See United States v. Knohl, 379 F.2d 427, 440 (2d Cir.

  1967). The government cannot meet that burden here.

            Relevant evidence must be authenticated before it can be admitted. See Fed. R. Evid. 901;

  United States v. Vayner, 769 F.3d 125, 129 (2d Cir. 2014) (“The requirement of authentication is

     ... a condition precedent to admitting evidence.”). The burden rests on the proponent of evidence

     to “produce evidence sufficient to support a finding that the item is what the proponent claims it

     is.” Fed. R. Evid. 901(a). Though some items of evidence are self-authenticating, “meaning they

     require no extrinsic evidence of authenticity in order to be admitted,” video recordings are not

  self-authenticating. See Fed. R. Evid. 902. “[E]xclusion of [video recordings] from self-

 authentication is entirely justified in view of the potential for unreliable or even seriously

 misleading material being presented in this format”—the type of evidence the government hopes

 to present to the jury here. Leo v. Long Island R. Co., 307 F.R.D. 314, 326 (S.D.N.Y. 2015).

            The burden on the government is high. Although the requirements under Rule 901 are

 typically satisfied “if sufficient proof has been introduced so that a reasonable juror could find in

 favor of authenticity or identification,” courts in this Circuit have articulated a higher standard for

 authenticating recordings. United States v. Vayner, 769 F.3d 125, 129–30 (2d Cir. 2014). Because


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recordings are “susceptible to alteration”—as the videos were here—and “often have a persuasive,

sometimes a dramatic, impact on a jury”—as these videos no doubt will—it is “incumbent on the

Government to produce clear and convincing evidence of authenticity and accuracy as a foundation

for the admission of recordings.” United States v. Knohl, 379 F.2d 427, 440 (2d Cir. 1967) (quoting

United States v. Manton, 107 F.2d 834, 845 (2d Cir. 1939)). Indeed, Second Circuit law “requires

that the government produce clear and convincing evidence of authenticity and accuracy as a

foundation for the admission of [video] recordings.” Accord United States v. Ida, 1997 WL

122753, *2 (S.D.N.Y. March 18, 1997) (internal quotation omitted).

       The government has not proffered any competent evidence through which it could

authenticate these videos. In the normal course, evidence may be authenticated through such means

as testimony of a witness with personal knowledge, evidence that the proffered exhibit has

distinctive characteristics demonstrating genuineness, and evidence that the proffered exhibit is

the result of a “process or system” that produces accurate results and showing that it produces an

accurate result.” Fed. R. Evid. 901(1), 901(4), 901(9). But this is not the normal course, and these

methods do not apply here. Rather, “in the absence of testimony by the editor or someone else with

personal knowledge to determine how [the videos] had been edited,” admitting the videos here

would be “grossly unfair” and “potentially highly misleading.” Leo v. Long Island R. Co., 307

F.R.D. 314, 326 (S.D.N.Y. 2015).

       Though the Second Circuit has not published a test with factors for courts in this district to

apply with respect to video evidence where foundation is called into question, in United States v.

Kimble, the Eighth Circuit set forth a number of factors for courts to consider when deciding

whether to admit recorded evidence:

       We consider whether a party has established that (1) the device was capable of
       recording, (2) the operator of the recording device was competent, (3) the recording



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But more importantly, the government’s failure to investigate means it cannot satisfy the “best

evidence” rule, and its inaccurate duplicates should not be admitted.

        Authentication requires additional safeguards to ensure validity where the proffered exhibit

is a duplicate of evidence rather than the original item. Ordinarily, the Federal Rules of Evidence

require that the proponent of an item of evidence introduce the original evidence, rather than a

copy of it. See Fed. R. Evid. 1002 (“[a]n original . . . recording . . . is required to prove its content

unless these rules or a federal statute provides otherwise.”). The requirement of an original, known

colloquially as the “best evidence rule,” may give way when the proponent of a duplicate shows

that the original is unobtainable and not by any fault of the proponent. In that case, “a duplicate is

admissible to the same extent as the original unless a genuine question is raised about the original’s

authenticity or the circumstances make it unfair to admit the duplicate.” Fed. R. Evid. 1003; see

Knohl, 379 F.2d at 440 (quoting Manton, 107 F.2d at 845 (noting a duplicate is admissible where

“fraud or imposition, reasonably, is not to be feared”)). An “electronic re-recording”—an

electronic recording of a recording—is a “duplicate” under Rule 1001(4). United States v.

Savarese, 404 F.3d 651, 656 (2d Cir. 2005).

        Here, a “genuine question” has been raised regarding authenticity, and it would be unfair

to admit the government’s proffered duplicates. Thus, the government’s only means of admitting

the evidence is Federal Rule of Evidence 1004, which permits the use of a duplicate if “all the

originals are lost or destroyed, and not by the proponent acting in bad faith,” or “[the] original

cannot be obtained by any available judicial process.” The government’s conduct negates

admissibility under either prong. It has repeatedly refused to investigate, has not questioned key

witnesses regarding the original recordings, and refuses to use available judicial process even to

confirm whether the originals still exist. Cf. Knohl, 379 F.2d at 441 (observing the “government’s




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   procedures for insuring the safekeeping of the tape were hardly adequate”). Rather, it has turned a

   blind eye hoping that the Court will permit it to use far more inflammatory evidence that will

   unfairly bolster its arguments and prejudice Combs’s case. Indeed, at the time CNN destroyed the

   original footage, it knew about and widely reported on the government’s investigation into Combs,

   yet destroyed evidence anyway. The government has no basis to claim the originals are lost or

   destroyed, because it has not attempted to find out. It has therefore ratified CNN’s “bad faith,” and

   it should not be rewarded.

          None of the available files are originals, none of the available files are reliable duplicates,

   and there is no amount of further editing that can be done to make any of the video files

   “acceptable…secondary evidence.” Fed. R. Evid. 1004 Advisory Committee Notes. To the

   contrary, the alterations include taking events out of sequence, speeding events up, removing

   frames, and adding frames, which present grave reliability and accuracy concerns. The facts here

   thus counsel strongly in favor of exercising discretion to exclude the government’s unreliable,

   inaccurate recordings under Federal Rules of Evidence 901, 1002 and 1004, particularly in the face

   of the government’s refusal to uses its power of process to investigate the destruction of the

   Original Video. Id. The government has not even tried to ensure the accuracy of the proffered

   evidence, and the evidence should be excluded.

III.   THE CNN AND IPHONE VIDEOS SHOULD BE EXCLUDED UNDER FEDERAL
       RULE OF EVIDENCE 403 BECAUSE THE DANGERS OF MISLEADING AND
       CONFUSING THE JURY AND UNFAIR PREJUDICE SUBSTANTIALLY
       OUTWEIGH THEIR PROBATIVE VALUE.

          The available video files (the iPhone 6 videos and CNN’s subpoena response videos) must

   be excluded as these altered videos will undoubtedly have a misleading and prejudicial, but highly

   “persuasive” and “dramatic” impact on the jury. Knohl, 379 F.2d at 440. The Court should

   therefore exclude the videos under Federal Rule of Evidence 403.



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       Though the government will no doubt argue that tampering affects the weight of recorded

evidence and not its admissibility, here that is not the case. The manipulation of the videos was

specifically designed to inflame the passions of CNN’s viewing audience, and that is what the

government is hoping to leverage in this case. The videos are sped up to make the violence look

more violent. The sequence is reordered to leave the viewer with the impression that the woman

has been dragged back to a hotel room. And the clips delete footage that provides important context

making clear that the events were not as horrific as the government will suggest.

       As the Second Circuit has observed, “recorded evidence is likely to have a strong

impression upon a jury,” and here that impression will come in the form of shock and awe. United

States v. Fuentes, 563 F.2d 527, 532 (2d Cir. 1977). The government has myriad other less

prejudicial ways of presenting evidence concerning the events allegedly depicted in the videos it

wishes to admit. The government already intends to present testimony from one or more persons

depicted in the videos. Here, where the available video files are not genuine, not accurate, and not

originals, and it is impossible to make the available video files accurate, none of the inaccurate,

unreliable videos should be admitted. Ultimately, if the government has a witness available to

testify to the events of March 5, 2016, such testimony would likely be admissible. However, that

testimony—and not the inaccurate, prejudicial, distorted footage—should be the evidence the jury

considers.

                                         CONCLUSION

       For the foregoing reasons, Mr. Combs requests that this Court hold a hearing and ultimately

conclude that none of the available video files of the Hotel Incident be admitted into evidence at

Mr. Combs’s upcoming trial.




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Dated: April 2, 2025        Respectfully submitted,
       New York, NY

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